Dear Mr. Fruge:
You have asked this office to advise you whether the law permits one to hold the position of deputy sheriff while serving as an elected member of the school board.  R.S. 42:63(D) governs our response and states:
  D. No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof. No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds an elective office. In addition no sheriff, assessor, or clerk of court shall hold any office or employment under a parish governing authority or school board, nor shall any member of any parish governing authority or school board hold any office or employment with any sheriff, assessor, or clerk of court. (Emphasis added).
An individual is prohibited from holding "any office or employment with any sheriff" while serving as school board member.
We hope the foregoing is helpful to you.  Should you have other questions in which we may provide assistance, please contact this office.
Very truly yours,
                              CHARLES C. FOTI, JR. ATTORNEY GENERAL
BY:  _____________________________________
                              KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
KLK:ams